                                                                                                    United States District Court
                                                                                                      Southern District of Texas


                                                                                              FILED
                                                                                                         ENTERED
                                                                                                         May 02, 2025
                         IN THE UNITED STATES DISTRICT COURT                                          Nathan Ochsner, Clerk
                         FOR THE SOUTHERN DISTRICT OF TEXAS                                          MAY O 1 2025
                                   HOUSTON DIVISION
                                                                                               CLERK, U.S. 0.STRICT COURT
                                                                                               ��GT Of TEXAS
                                                        §                                                       DEPUTY Cl.ERK
                                                        §
  In Re Professional Fee Matters                        §
  Concerning the Jackson Walker Law                     §       Civil Action No. 4:23-CV-4787-AM
  Firm                                                  §
                                                        §

                                                   ORDER

        On April 9, 2025, this Court ordered the withdrawal of the reference from the bankruptcy

courts in 34 cases. 1 (ECF No. 31.) In that order, the Court granted the United States Trustee's

Motion for a Status Conference.

        Accordingly, it is hereby ORDERED for the parties to appear in Courtroom 8-C of the

United States Courthouse in Houston, Texas on Thursday, May 22, 2025, at 9:00 AM.

        The parties that must appear are the United States Trustee, Jackson Walker, and their




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  See Bankr. S.D. Tex. Case Nos. 21-30936 (In re Brilliant Energy, LLC), 21-90054 (In re Strike, LLC), 20-35740 (In
re Seadrill Partners LLC), 21-90002 (In re Basic Energy Servs., Inc.), 20-33233 (In re Chesapeake Energy Corp.),
20-33295 (In re Covia Holdings Corp.), 20-20184 (In re J C. Penney Direct Mktg. Servs. LLC), 21-31861 (In re
Katerra, Inc.), 21-30427 (In re Seadrill Ltd.), 20-32564 (In re Stage Stores, Inc.), 22-90018 (In re Sungard AS New
Holdings, LLC), 20-34758 (In re Tug Robert J. Bouchard Corp.), 18-35672 (In re Westmoreland Coal Co.), 20-32021
(In re Whiting Petroleum Corp.), 20-35561 (In re Mule Sky LLC), 22-50009 (In re 4E Brands Northamerica LLC), 22-
90129 (In re Altera Infrastructure Project Services LLC), 23-90055 (In re Auto Plus Auto Sales LLC), 20-32519 (In re
Neiman Marcus Group LTD LLC), 20-33302 (In re Covia Finance Company, LLC), 20-33916 (In re TMW Merchants
LLC), 20-31886 (In re Sheridan Production Partners, I-A, LP), 22-90126 (In re La/or/a - Gestao E Investmentos), 20-
33812 (In re Denbury Holdings, inc.), 20-32680 (In re Energy Services Puerto Rico, LLC), 22-90002 (In Seadrill
Member LLC), 19-32112 (In re Jones Energy, Inc.), 19-34508 (In re Sanchez Energy Corp.), 20-34500 (In re iQOR
Holdings Inc.), 18-30155 (In re EXCO Resources, inc.), 20-50082 (In re Volusion, LLC), 20-30336 (In re McDermoll
International Inc.), 22-90032 (In re GWG Holdings, Inc.), 22-90035 (In re HONX. Inc.).
